

Johnson v City of New York Corp. Counsel (2024 NY Slip Op 50035(U))



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Johnson v City of New York Corp. Counsel


2024 NY Slip Op 50035(U)


Decided on January 16, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on January 16, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



571116/23

Todd Johnson, Plaintiff-Appellant, 
againstCity of New York Corporation Counsel, Defendant-Respondent.




Plaintiff, as limited by his brief, appeals from so much of the judgment of the Small Claims Part of the Civil Court of the City of New York, Bronx County (Jeffrey S. Zellan, J.), entered on or about November 18, 2022, after trial, as limited his recovery to the principal sum of $3,871.




Per Curiam.
Judgment (Jeffrey S. Zellan, J.), entered on or about November 18, 2022, affirmed, without costs.
The amount of the damage award issued in plaintiff's favor upon the trial of this Small Claims action achieved "substantial justice" (CCA 1804, 1807) and was neither inadequate nor unreasonable. Plaintiff did not establish his entitlement to any additional damages for the conversion of his vehicle. Plaintiff's estimates for vehicles newer than the subject 2003 Honda Pilot lacked probative value and the court properly based its award on Kelley Blue Book valuations for comparable vehicles (see Schussheim v Snitkoff, 55 Misc 3d 150[A], 2017 NY Slip Op 50732[U][App Term, 2d Dept, 9th &amp; 10th Jud Dists 2017]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: January 16, 2024









